Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 1 of 25

EXHIBlT A

 

CaS€ 2217-CV-O4109-ER

SIMON & SIMON, P.C.

BY: Marc I. Simon, Esquire
Joshua A. Rosen, Esquire
Matthew J. Zamites, Esquix‘e
Andrew J. Van '\\’agnex*, Esquire
Brian F. Ge<)rge, Esquire
Andl’ew Barc)u, Esquire
Raymond Tm‘nowski, Esquire
Gl‘ady Lowman, Bsquire
Ash}ey Oakey, Esquire
Jason Wha|ley, Esquirc
Joshlla Baer‘, Esquire
Michael Kv Simc_)n, Esquil‘e
Sam Reznik, lisquirc

Attomey ID No.’s:
201798

1515 Markel Street, 16“’171001‘
Philadelphia, PA 19102
(215'~40()~2251)

 

Michele Neiman

122 Juniper Street

Apt B

Quakertown, PA 18951

Plaintif:["
V.
Wal Mart Stores East, LP
195 N. W End
Quake\'town, PA 18951

Def`endants

 

Document 1-1 Filed 09/14/17 Page 2 of 25

THIS IS NOT AN ARBITRATION COMPLAlNT

    

AN ASSESSMENT' OF DAMAGES l;;;;AR;;;LG
ls REQUIREI) ,_J'=;§; ‘ *' ` ,.

Bl‘yan Arner, Esquh‘e

Mm'y G. McCaz‘thy, Esquire
Joseph L. Co[eman, Esquire
Wi!liam Rhoade,s, Esquire
Michael Schlagnhaufer, Esquire
Alexander C. Hyder, Esquire
James T. Stinsman, Esquil‘e
Daria Koscieluiak, Esquire
Harry Gosnear, Esquix‘e
.Iessalyn Gi11um, Esquire
Fabianna Pergolizzi, Esquh'e
Ashley I<leefer, Esquire
Kat'le Walsh, Esquire

Atz‘r)rneysfor Plainfr`ff

COURT OF COMMON PLEAS
PH!LADELPHIA COUNTY

May Tex'm, 2017

No.

C:z:sc lj`): 1705\`02763

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 3 of 25

NOTICE TO DEFEND

NOTICE

You have been sued in coult. lt` you Wish to
defend against the claims set forth in the
following pages, you must take action Within
twenty (20) days after this complaint and notice
are served, by entering a written appearance
personally or by attorney and filing in writing
with the court your defenses or objections to the
claims set forth against you. You are warned
that if you fail to do so the case may proceed
without you and a judgment may be entered
against you by the court without l"inther notice
for any money claimed in the complaint or For
any other claim or relief requested by the
plaintit`t`. You may lose money or property or
other rights important to you.

YoU SHOULD TAKE THIS PAPER To
YOUR LAWYER AT.oNCE. lF YoU no
NOT HAVE A LAWYER oR CANNOT
AFFORD ONE, Go TO OR TELEPl-IONE
THE OFFICB SE;T FoRTH BELOW To FIND
oUT wHERE You CAN GF.T LHGAL rlELP.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND
INFORMATION SERVICE

Ono Reading Centel'
Philadelphia l’ennsylvunia 19107
Telephone: (215) 238*1701

AVISO

Le han demandacio a usted en 1a corte. Si usted
quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene viente (20) dias
de plazo al partil‘ de la feoha de la demanda y la
notiticacion. tlaoe falta asentar una
comparesencia eserita o en persona o con un
abogado y entregar ala cone en forma esct‘lta sus
defensas o sus ob_ieoiones a las demandas en contra
de sn persona. Sea avisado que Si usl'ecl no Se
det`iende, la cone tomarti medidas y pilede
continuar la demanda en contra suya sin previo
aviso o notificacic')n. Ademés, la oorte puede
deeiclir a favor del demandante y requiere que
listed cumpla con todas las provisiones de esta
demanda. Usted puede perdei' dinero o sus
propiedades u otros dereolios importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO
IMMEDIATAMENTE. Sl NO TIENE
ABOGADO O Sl NO TIENE EL DINERO
SUFl`ClEN'l`E DE PAGAR TAL, SERVICIO,
VAY:A EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.

AsoCIACloN nu LiCENCLADoS I)u
FILADELFIA
sEvaclo mt REFERENCIA n
quoRI\/:Aciou LEGAL
Onc Reading Center
Filadeliia, Pennsylvarlia 19107
Tolefono: (215) 238-1701

Cf'asc ll`); l7l)5ll§

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Case 2:17-cv-O4109-ER Document 1-1 Filed 09/14/17 Page 4 of 25

COMPLA INT

 

i. Plaintii`f, l\/liohcle Neiman, is an adult individual and resident ol` the Commonwea'lth of
Pennsy|vauia, residing at the address listed in the above caption

2. Defendant, Wal l\/Iart Storcs East, LP, is a business entity registered to do business in the
Commonwealth of Pennsylvania, with a business address listed in the caption of this Complaint,
and which at all times material hereto was the owner, operator, maintainer, possessor, lessor,
lessee and/or otherwise legally responsible for the care, control and safety of the premises
located at Wahnart Supercenter, 195 N.W End, in Qual<ertown, PA.

3, Defendants named in paragraphs 2 above will be collectively referred to as “Del"endants"
t`or the entirety of this Complaint.

4. Upou information and bcliet`, Det`endants regularly and systematically transact business
in Philadelphia County so as to be subject to venue and in personamjurisdiction in Philadelphis.

5. At all relevant times, D_ei`endants Were acting individually, jointly and/or by and through
its agents, servants, Franchisees, workmen and/or employees t`or the maintenance, repair, care
and control ot` the premises located at Wahnatt Supcrcenter, l95 N.W End, in Qual<erto\-vn,
referred to hereinafter as “the premises.”

6. On or about August 14, 2016', at approximately 1 1:30 a.in., Plaintitt` was a business
invitee, licensee and/or otherwise legally on Det`endants’ premises

7. At all times relevant hereto, Defendants, individually,jointly and/or through its agents,
servants, Franchisees, workmen and/or employees, had a duty to keep and maintain the aforesaid
premises in a reasonably safe condition for those persons lawfully thereon, including P|aintifl".

8. On or about August 14, 2016, at approximately l 1:30 a.in., while on Defendants’
premises, PlaintiFF was caused to slip and l"all on a substance that was on the tloor_, causing

serious and permanent personal injuries on account of which this action is brought

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Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 5 of 25

9. At or about the same date, time and place in quostion, and for some period of time prior
thereto, Defendants, acting individually, jointly and/or by and through their agents, servants,
franchisees workmen and/or employees, negligently and/or carelessly allowed and permitted
dangerous and unsafe conditions to exist, including but not limited to, the conditions which
directly resulted in the plaintift`s injuries.

lO. ’l`he negligence of Det`endants consisted of, inter alia_ the lbllo\~\/iiig:

a. Faihn'e to remove the liquid substance from the tioors;

b. Failure to regard the rights, safety and position of the Plaintiff in and about the
area ol` the aforementioned accident;

_ c. Failure to request and supervise periodic inspections ofthc premises in and
around the area where Plaintift` fell by Defendnnt’s employees and/or agents;

d. Failure to reasonably inspect, maintain and/or otherwise exercise due and
reasonable care under the circumstance in view of the foreseeable dangers,
accidents and/or injuries that could occur as a result of the conditions on the
premises;

e. Faihn'e to comply with Philadelphia County and Comtnonwealth ol`
Pennsylvania building codes, county and city laws, ordinances and regulations
pertaining to the design, construction and maintenance ofthe aforementioned
prcmises;

t`.` Failure to provide sufficient warning to the Plaintift` as to the existence ofthc
reasonably foreseeable defective dan gerous, and unsafe conditions giving rise
to the instant action;

P`ailttt'e to provide adequate safeguards to prevent the injury to Plaintifl`;

q:.

Cus‘e ll): l7()502?o

l__,_J

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 6 of 25

h. Failure to exercise the proper care, custody and control over the aforesaid
prem ises.

l l, As a direct and consequential result of the negligent and/or careless conduct of the
dei"t~‘,ndant7 described above, the Plaintift` suffered various serious and permanent personal
in j uries, serious impairment of bodily function and/or permanent serious disfigurement and/or
aggravation of preexisting conditions, and others ills and injuries, all to Plalntifi”s great loss and
detriment

l?,. As a result oi` these injuries, all of which are permanent in nature and all of Which are to
Plaintlfl”s great financial detriment and loss, Plaintlffhas in the past, is presently and may in the
future suffer great anguish, sickness and agony and will continue to suffer for an indefinite time
into the future

l3. As an additional result ot` the carelessness and/or negligence ot` Defendants, Plzrintift` has
suffered emotional injuries, along with the physical injuries suffered

l4. As a further result ofPlaintii`t"s injuries, l’laintiff has in the pust, is presently and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintift’s further loss
and detriment

l$. Fuzthermore, in addition to all the injuries and losses suffered by Plaintifr`, Plsiutil’i"has
also incurred or will incur medical, rehabilitative and other related expenses l’ol' which he makes
a claim i`or payment in the present action.

WH EREFORE, Plaintit`t`, demandsjudgment in Plaintii"l"’s favor and against Det`endants in

an amount in excess of Fifty 'l`housand ($50,000.()0) Dollurs, plus all costs and other relief this

court deems necessary

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` f. ..'. ,.

Cuse li`): l'?i)§ill27€$3

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 7 of 25

SlMON & SIMON, PC
/s

MARC l. Sli\/ION, ESQUIRE
/lfz‘omeyfor P!az`nlz`ff

(,Tust': ll_>: l7`l)5(l37()3

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 8 of 25

~ VEBIFICATI ON`

l, Mztrc Simon, hereby state that lam attorney for the I’l€rinti `in the within action end
that the fuels set forth in this Civll notion Cmnplaint above are true and correct to thc best zome
luio\\»le<lge, information and belleil

I understand that the statements in this Verit`xcation-are made subject to the penalties of

18 U`,S.Ci)\.'§ 1001 reiating to unsworn falsification to authorities

. § /l.,/\W

inure l. Simon

 

(_.`.u:~;e ll.)‘, l7ll5l)27{)3

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 9 of 25

VERIFICATION

 

l, , am the plaintiff in this action, and Ihereby state that the facts set
forth in the foregoing Complaint are true and correct to the best ofmy knowledge, information,
and belief I understand that this Verif!cation is subject to 18 Pa. C.S. § 4904 providing for

criminal penalties for unsworn falsification to authorities,_

case ;lD; 17050;>~763

 

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 10 of 25

SIMON & SIMON, P.C.

BY: Marc 1. Simon, Esquire
Joshua A. Rosen, Esquire
Matthew J. Zamites, Esquire
Andrew J. Van Wagner, Esquire
Brian F. George, Esquire
Andrew Baron, Esquire
Raymond Tarnowski, Esquire
Grady LOWman, Esquire
Ashley Oakey, Esquire
Jason Whalley, Esquire
Joshua Baer, Esquire
Michael K. Simon, Esquire
Sam Reznik, Esquire

Attorney ID No. ’S:
201 798

1515 Marker Srreer, 16th Fl@@r
Philadelphia, PA 19102
(215-400-2251)

 

Michele Neiman

122 Juniper Street

Apt B

Quakertown, PA 18951

Plaintiff
V.
Wal Mal“c Stores East, LP
195 N. W End
Quakertown, PA 18951

Defendants

 

THIS ls NOT AN ARBITRATION COMPLAINT
AN ASSESSMENT OF DAMAGES HEA.RH\IG
ls REQUIRED "/' \

      

Bryan Arner, Esquire

Mal'y G. McCarthy, Esquire
Joseph L. Coleman, Esquire
William Rhoades, Esquire
Michael Schlagnhaufer, Esquire
Alexander C. Hyder, Esquire
J ames T. Stinsman, Esquire
Daria Koscielniak, Esquire
Harry Gosnear, Esquire
Jessalyn Gillum, Esquire
Fabianna Pergolizzi, Esquire
Ashley Keefer, Esquire
Katie Walsh, Esquire

Attorn eys for Plaintiff

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

May Term, 2017

No. 170502763

Case ID: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 11 of 25

NOTICE T() DEFEND

NOTICE

You have been sued in court. lf you Wish to
defend against the claims set forth in the
following pages, you must take action Within
twenty (20) days after this complaint and notice
are served, by entering a Written appearance
personally or by attorney and filing in Writing
With the court your defenses or objections to the
claims set forth against you. You are Warned
that if you fail to do so the case may proceed
Without you and a judgment may be entered
against you by the court Without further notice
for any money claimed in the complaint or for
any other claim or relief requested by the
plaintiff You may lose money or property or
other rights important to you.

YOU SHOULD TAKE THIS PAPER TO
YOUR LAWYER AT ONCE. 113 YOU DO
NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND
OUT WHERE YOU CAN GET LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND
INFORMATION SERVICE

One Reading Center
Philadelphia Pennsylvania 19107
Telephone: (215) 238-1701

AVISO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene Viente (20) dias
de plazo al partir de la fecha de la demanda y la
notificacién. Hace falta asentar una
comparesencia escrita 0 en persona 0 con un
abogado y entregar a la corte en forma escrita sus
defensas 0 sus obj eciones a las demandas en contra
de su persona. Sea avisado que si usted no se
defiende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo
aviso o notificacion. Ademas, la corte puede
decidir a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO
ll\/IMEDIATAMENTE. Sl NO TIENE
ABOGADO O Sl NO TlENE EL DINERO
SUFICIENTE DE PAGAR TAL SERVICIO,
VAYA EN PERSONA 0 LLAME POR
TELEFONO A LA OFICINA CUYA
DIRECCION SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACI(')N DE LICENCIADOS DE
FILADELFIA
SERVICI() DE REFERENCIA E
INFORMACI(’)N LEGAL
One Reading Center
Filadelfia, Pennsylvania 19107
Telefono: (215) 238-1701

Case lD: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 12 of 25

AMENDED COMPLAINT

l. Plaintiff, Michele Neirnan, is an adult individual and resident of the Commonwealth of
Pennsylvania, residing at the address listed in the above caption

2. Defendant, Wal Mart Stores East, LP, is a business entity registered to do business in the
Commonwealth of Pennsylvania, With a business address listed in the caption of this Complaint,
and which at all times material hereto was the owner, operator, maintainer, possessor, lessor,
lessee and/or otherwise legally responsible for the care, control and safety of the premises
located at Walmart Supercenter, 195 N.W End, in Quakertown, PA.

3. Defendants named in paragraphs 2 above will be collectively referred to as “Defendants”
for the entirety of this Complaint.

4. Upon information and belief, Defendants regularly and systematically transact business
in Philadelphia County so as to be subject to venue and in personem jurisdiction in Philadelphia.

5. At all relevant times, Defendants Were acting individually, jointly and/or by and through
its agents, servants, franchisees, workmen and/or employees for the maintenance, repair, care
and control of the premises located at Walmart Supercenter, 195 N.W End, in Quakertown,
referred to hereinafter as “the premises.”

6. On or about August 14, 2016, at approximately 11:3() a.m., Plaintiff was a business
invitee, licensee and/or otherwise legally on Defendants’ premises

7. At all times relevant hereto, Defendants, individually, jointly and/or through its agents,
servants, franchisees, workmen and/or employees, had a duty to keep and maintain the aforesaid
premises in a reasonably safe condition for those persons lawfully thereon, including Plaintiff.

8. On or about August 14, 2016, at approximately 11130 a.m., while on Defendants’

premises, Plaintiff was walking in the frozen food isle when she was caused to slip and fall on a

Case lD: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 13 of 25

substance that was on the floor, causing serious and permanent personal injuries on account of
which this action is brought.

9. At or about the same date, time and place in question, and for some period of time prior
thereto, Defendants-, acting individually, jointly and/or by and through their agents, servants,
franchisees, workmen and/or employees, negligently and/or carelessly allowed and permitted
dangerous and unsafe conditions to exist, including but not limited to, the conditions which
directly resulted in the plaintiffs injuries.

lO. The negligence of Defendants consisted of, inter alia, the following:

a. Failure to remove the liquid substance from the floors;

b. Failure to regard the rights, safety and position of the Plaintiff in and about the
area of the aforementioned accident;

c. Failure to request and supervise periodic inspections of the premises in and
around the area where Plaintiff fell by Defendant’s employees and/or agents;

d. Failure to reasonably inspect, maintain and/or otherwise exercise due and
reasonable care under the circumstance in view of the foreseeable dangers,
accidents and/or injuries that could occur as a result of the conditions on the
premises;

e. Failure to comply with Philadelphia County and Commonwealth of
Pennsylvania building codes, county and city laws, ordinances and regulations
pertaining to the design, construction and maintenance of the aforementioned
premises ;

f. Failure to provide sufficient warning to the Plaintiff as to the existence of the
reasonably foreseeable defective, dangerous, and unsafe conditions giving rise

to the instant action;

Case ID: l70502763

 

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g. Failure to provide adequate safeguards to prevent the injury to Plaintiff;
h. F ailure to exercise the proper care, custody and control over the aforesaid
premises.

ll. As a direct and consequential result of the negligent and/or careless conduct of the
defendant, described above, the Plaintiff suffered Various serious and permanent personal
injuries to the right hand, right arm, right ankle, right leg, and resultant headaches, serious
impairment of bodily function and/or permanent serious disfigurement and/or aggravation of pre-
existing conditions, and others ills and injuries, all to Plaintiff’s great loss and detriment.

lZ. As a result of these injuries, all of which are permanent in nature and all of which are to
Plaintiffs great financial detriment and loss, Plaintiff has in the past, is presently and may in the
future suffer great anguish, sickness and agony and Will continue to suffer for an indefinite time
into the future.

l3. As an additional result of the carelessness and/or negligence of Defendants, Plaintiff has
suffered emotional injuries, along with the physical injuries suffered.

l4. As a further result of Plaintiff s injuries, Plaintiff has in the past, is presently and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’ s_ further loss
and detriment.

15. Furthermore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff has
also incurred or will incur medical, rehabilitative and other related expenses for which he makes
a claim for payment in the present action.

WHEREFORE, Plaintiff, demands judgment in Plaintiff’s favor and against Defendants in
an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all costs and other relief this

court deems necessary.

Case ID: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 15 of 25

Sll\/[ON & SIMON, PC

/ s
MARC l. siMoN, ESQUIRE
Az‘forneyfor Plaintijj"

 

Case lD: l70502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 16 of 25

' VERIFICAT{QN‘

1, Marc Simon, hereby state that 1 am attorney for the Plaintiff in the within action and
that the facts set forth in this Civil Action Complaint above are true and conccf toith best of my
imcwledge, niformation and belief

I rmderstand` that the statements inthis Verit`xcation are made subject to the penalties of

18 U.S.C.A. § 1001 relating to unsworn falsification to authorities

,';i_ /f\~.r_,.

\..» .
Marc l. Silm'm

Case lD: l70502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 17 of 25

VERIFICATION
I, , am the plaintiff in this action, and l hereby state that the facts set
forth in the foregoing Complaint are true and correct to the best of my knowledge, information,
and belief l understand that this Verification is subject to 18 Pa. C.S. § 4904 providing for

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ease n): i7050~2763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 18 of 25,

SIMON & SIMON, P.C.

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Michael K. Simon, Esquire
Sam Reznik, Esquire

Attorney ID No.’s:
201 798

1515 Market Street, 16th Floor
Philadelphia, PA 19102
(215~400-2251)

 

Michele Neiman

122 Juniper Street

Apt B

Quakertown, PA 18951

Plaintiff
v.
Wal Mart Stores East, LP
195 N. W End
Quakertown, PA 18951

Defendants

 

THlS IS NOT AN ARBITRATION COMPLAINT
AN ASSESSMENT OF DAMAGES HEAR[NG
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Harry Gosnear, Esquire
Jessalyn Gillum, Esquire
Fabianna Pergolizzi, Esquire
Ashley Keefer, Esquire
Katie Walsh, Esquire

Attorneys for Plain tiff

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

May Term, 2017

No. 1705()2763

Case lD: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 19 of 25

NOTICE TO DEFEND

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personally or by attorney and filing in writing
With the court your defenses or objections to the
claims set forth against you. You are warned
that if you fail to do so the case may proceed
without you and a judgment may be entered
against you by the court without further notice
for any money claimed in the complaint or for
any other claim or relief requested by the
plaintiff You may lose money or property or
other rights important to you.

YOU SHOULD TAKE THIS PAPER TO
YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND
OUT WHERE YOU CAN GET LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION
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Telephone: (215) 238~1701

AVISO

Le han demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas en
las paginas siguientes, usted tiene viente (20) dias
de plazo al partir de la fecha de la demanda y la
notificacic')n. Hace falta asentar una
comparesencia escrita o en persona o con un
abogado y entregar a la corte en forma escrita sus
defensas o sus obj eciones a las demandas en contra
de su persona. Sea avisado que si usted no se
deflende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo
aviso o notificaci<’)n. Ademas, la corte puede
decidir a favor del demandante y requiere que
usted cumpla con todas las provisiones de esta
demanda. Usted puede perder dinero o sus
propiedades u otros derechos importantes para
usted.

LLEVE ESTA DEMANDA A UN ABOGADO
IMMEDIATAMENTE. SI NO TIENE
ABOGADO O SI NO TIENE EL` DINERO'
SUFICIENTE DE PAGAR TAL SERVICIO,
VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA
DIRECCIGN SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACION DE LICENCIADOS DE
FILADELFIA
SERVICIO DE REFERENCIA E
INFORMACIC’)N LEGAL
()ne Reading Center
Filadelfia, Pennsylvania 19107
Telefono: (215) 238~1701

Case lD: 170502763

 

Case 2:17-cV-O4109-ER Document 1-1 Filed 09/14/17 Page 20 of 25

SECOND AMENDED C()l\/[PLAINT

1. Plaintiff, Michele Neiman, is an adult individual and resident of the Commonwealth of
Pennsylvania, residing at the address listed in the above caption

2. Defendant, Wal Mart Stores East, LP, is a business entity registered to do business in the
Commonwealth of Pennsylvania, with a business address listed in the caption of this Complaint,
and Which at all times material hereto was the owner, operator, maintainer, possessory lessor,
lessee and/or otherwise legally responsible for the care, control and safety of the premises
located at Walmart Supercenter, 195 N.W End, in Quaker'town, PA.

3. Defendants named in paragraphs 2 above will be collectively referred to as “Defendants”
for the entirety of this Complaint.

4. Upon information and belief, Defendants regularly and systematically transact business
in Philadelphia County so as to be subject to venue and in personem jurisdiction in Philadelphia

5. At all relevant times, Defendants were acting individually, jointly and/or by and through
its agents, servants, franchisees, workmen and/or employees for the maintenance, repair, care
and control of the premises located at Walmart Supereenter, 195 N.W End, in Quakertown,
referred to hereinafter as “the premises.”

6. On or about August 14, 2016, at approximately 1 l 230 a.m., Plaintiff Was a business
invitee, licensee and/or otherwise legally on Defendants’ premises

7. At all times relevant hereto, Defendants, individually, jointly and/or through its agents,
servants, franchisees, workmen and/or employees, had a duty to keep and maintain the aforesaid
premises in a reasonably safe condition for those persons lawfully thereon, including Plaintiff.

8. On or about August 14, 2016, at approximately 11:30 a.m., while on Defendants’

premises, Plaintiff was Walking in the frozen food isle when she was caused to slip and fall on

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water that was on the floor, causing serious and permanent personal injuries on account of which
this action is brought.

9. At or about the same date, time and place in question, and for some period of time prior
thereto, Defendants, acting individually, jointly and/or by and through their agents, servants,
franchisees, workmen and/or employees, negligently and/or carelessly allowed and permitted
dangerous and unsafe conditions to exist, including but not limited to, the conditions which
directly resulted in the plaintiff" s injuries.

lO. The negligence of Defendants consisted of, inter alia, the following:

a. F ailure to remove the liquid substance from the floors;

b. Failure to regard the rights, safety and position of the Plaintiff in and about the
area of the aforementioned accident;

c. Failure to request and supervise periodic inspections of the premises in and
around the area where Plaintiff fell by Defendant’s employees and/or agents;

d. Failure to reasonably inspect, maintain and/or otherwise exercise due and
reasonable care under the circumstance in view of the foreseeable dangers,
accidents and/or injuries that could occur as a result of the conditions on the
premises;

e. Failure to comply with Philadelphia County and Commonwealth of
Pennsylvania building codes, county and city laws, ordinances and regulations
pertaining to the design, construction and maintenance of the aforementioned
premises;

f. Failure to provide sufficient warning to the Plaintiff as to the existence of the
reasonably foreseeable defective, dangerous, and unsafe conditions giving rise

to the instant action;

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g. Failure to provide adequate safeguards to prevent the injury to Plaintiff;
h. Failure to exercise the proper care, custody and control over the aforesaid
premises

11. As a direct and consequential result of the negligent and/or careless conduct of the
defendant, described above, the Plaintiff suffered various serious and permanent personal
injuries to the right hand, right arm, right ankle, right leg, and resultant headaches, and including
disc herniation and protrusions, serious impairment of bodily function and/or permanent serious
disfigurement and/or aggravation ofpre~existing conditions, and others ills and injuries, all to
Plaintiff’s great loss and detriment.

12. As a result of these injuries, all of which are permanent in nature and all of which are to
Plaintiff’ s great financial detriment and loss, Plaintiff has in the past, is presently and may in the
future suffer great anguish, sickness and agony and will continue to suffer for an indefinite time
into the future.

13. As an additional result of the carelessness and/or negligence of Defendants, Plaintiff has
suffered emotional injuries, along with the physical injuries suffered

14. As a further result of Plaintiff’ s injuries, Plaintiff has in the past, is presently and may in
the future undergo a great loss of earnings and/or earning capacity, all to Plaintiff’s further-loss
and detriment.

15. Furthermore, in addition to all the injuries and losses suffered by Plaintiff, Plaintiff has
also incurred or will incur medical, rehabilitative and other related expenses for which he makes
a claim for payment in the present action.

WHEREFORE, Plaintiff, demands judgment in Plaintiff’s favor and against Defendants in
an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus all costs and other relief this

court deems necessary.

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SIMON & SIMON, PC

/ s
MARC I. S[MON, ESQUIRE
Attorneyfor Plaintiij

 

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`» VERIF_ICATION '
l, Marc Sitncn, hereby state that l am attorney for the l’latintifi`in the within action end

that the facts set forth in this Civil Action Complaint above are true and correct to't.hc best of my

‘ knowledge information and belieft

l understand that the statements intlris `Verit`tcation are made subject tc the penalties of

18 U.S.C.A.‘§ 1001 relating to unsworn falsification to authorities

i//\_

Marc 1. Simon

 

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VERIFICATION
I, f , am the plaintiff in this action, and l hereby state that the facts set
forth in the foregoing Complaint are true and correct to the best of my knowledge, information,
and belief l understand that this verification is subject to 18 Pa. C.S. § 4904 providing for

criminal penalties for unsworn falsification to authorities

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